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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE


 UNITED STATE DEPARTMENT OF
 AGRICULTURE,

      Plaintiff,

 v.                                                             Case No. 1:25-cv-00196-JAW

 DEBRA A. LAMONDA,

      Defendant


         OBJECTION OF DEFENDANT TO PROPOSED SCHEDULING ORDER

        Defendant objection to the provision of the proposed scheduling order which would place

this matter on Administrative Track and would prohibit discovery. Defendant has raised serious

and substantial defenses to the complaint for foreclosure, is preparing initial requests for

production of documents and interrogatories and anticipates taking multiple depositions. The

defenses raised by Defendant require fact intensive pre-trial discovery, and with a claim, which

she disputes, that she owes $393,463.90, she should not be denied her normal rights to pre-trial

discovery. Accordingly, Defendant requests that this matter be placed upon the Standard Track

for all further proceedings in this matter.


 DATED: 3, 2025

                                                      /s/ Thomas A. Cox
                                                      Thomas A. Cox, Esq. Me. Bar No. 1248
                                                       Attorney for Defendant Debra A. LaMonda

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                                  CERTIFICATE OF SERVICE
                                  FOR ELECTRONIC FILINGS

          I hereby certify that on May 31, 2025, I electronically filed the foregoing document
 with the United States Court of Appeals for the First Circuit by using the CM/ECF system.
 I certify that the following parties or their counsel of record are registered as ECF Filers and
 that they will be served by the CM/ECF system:

        Kevin J. Crossman, Esq.




              AS TO ANY PARTIES ARE NOT REGISTERED AS ECF FILERS

         I further certify that on May 32, 2025, I served a copy of the foregoing document on
 the following parties or their counsel of record by email sent to her email address stated below:

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